           Case 21-03010-sgj          Doc 132 Filed 09/30/22 Entered 09/30/22 10:49:08                         Desc
                                      Notice re: record BK appeal Page 1 of 2
BTXN 113 (rev. 3/18)
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS


In Re:                                                          §
Highland Capital Management, L.P.                               §
                                      Debtor(s)                 §    Case No.: 19−34054−sgj11
NexPoint Advisors, L.P. and Highland Capital                    §
Management Fund Advisors, L.P.                                  §
                                      Appellant(s)              §    Adversary No.:       21−03010−sgj
      vs.                                                       §
Highland Capital Management, L.P.                               §
                                      Appellee(s)               §
                                                                §
                                                                §
                                                                §
                                                                §


             NOTICE REGARDING THE RECORD FOR A BANKRUPTCY APPEAL
Federal Rule of Bankruptcy Procedure 8009 prescribes the deadlines for filing the designations of items to be
included in the record, requires copies to be submitted to the bankruptcy clerk to prepare the record, and directs all
parties to "take any other action necessary to enable the clerk to assemble and transmit the record." Fed.R.Bankr.P.
8009(g). The purpose of this notice is to provide guidance on the local application of this rule.

DESIGNATION OF THE RECORD

        • If you are the appellant, when designating items for inclusion in the record,



                 ♦ list the following items first, in this order: (1) the notice of appeal, (2) the judgment, order, or decree
                   appealed from, (3) any opinion, findings of fact, and conclusions of law of the bankruptcy court, and
                   (4) the docket sheet;


                 ♦ then list the other items to be included, leaving for the end of your list any sealed documents, any
                   exhibits, and any transcripts.


        • If you are the appellee, cross−appellant, or cross−appellee and are designating additional items,



                 ♦ list the following items first, in this order: (1) any notice of cross−appeal, (2) any judgment, order, or
                   decree appealed from that the appellant has not designated, and (3) any opinion, findings of fact, and
                   conclusions of law of the bankruptcy court that the appellant has not designated;


                 ♦ then list the other items to be included, leaving for the end of your list any sealed documents , any
                   exhibits, and any transcripts.


        • All parties designating items to be included in the record on appeal must



                 ♦ for each item, specify the document number shown on the docket sheet. If an item does not have a
                   document number, specify the date the item was filed.
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             ♦ If you have designated a transcript that has not been filed, order it immediately by contacting the
               presiding bankruptcy judge's courtroom deputy or following the instructions at
               http://www.txnb.uscourts.gov/transcript−and−tape−orders.



ASSEMBLY OF THE RECORD

Within 14 days of filing your designation of the record, pursuant to Rule 8009, submit to the bankruptcy clerk any
item that is not available in the ECF system, using this procedure:

      • Enclose sealed items and non−documentary items (e.g., removable media) in 8.5" x 11" envelopes.


      • Copy all other items in PDF files to a removable storage device (e.g., USB drives, DVDs, etc.), organized in
        the sequence in which they were designated. Limit files to 5.0 MB in size and do not include color.


      • Save copies of court exhibits in PDF files to a removable storage device, organized in the sequence in which
        they are designated. Limit files to 5.0 MB in size and do not include color. (Use a separate removable storage
        device for each hearing.)


      • Label any submission with the case caption and bankruptcy court case and/or adversary proceeding number.



TRANSMITTAL OF THE RECORD

      • The bankruptcy clerk will electronically transmit the record to the district clerk. The parties must provide a
        paper copy of the record, if required.



REQUIREMENTS REGARDING PAPER RECORD

      • If the district judge requires a paper copy, the district clerk will notify you that you are required to provide a
        copy of the items in your designation to the bankruptcy clerk, for quality review.


      • If you are notified to provide a paper copy, organize the record according to the volumes maintained in the
        district court's ECF system.


      • Even if a paper copy is not required when an appeal is entered on the docket, the district judge or the district
        clerk may later notify you that a paper copy is required for the use of the district judge or the court of appeals.



DATED: 9/30/22                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/Sheniqua Whitaker, Deputy Clerk
